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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
IBRAHEM WAHBA                                          )
                                                       )
       Plaintiff                                       )
                                                       )
v.                                                     )         1:20-cv-48
                                                       )
THE GENERATION COMPANIES, LLC                          )
                                                       )
       Defendant                                       )

                                          COMPLAINT

                                      Jurisdictional Statement

       This Court has jurisdiction of this matter pursuant to The Fair Labor Standards Act, 29

U.S.C.A. §201 et seq (hereinafter sometimes FLSA).

       The plaintiff is a citizen of Virginia. Upon information and belief, the defendant is a

North Carolina LLC authorized to do business in Virginia.

                                               Claim

1.     Plaintiff is a former employee of defendant.

2.     Plaintiff served as a manager of the Candlewood Suites motel located at 45520 Severn

Way, Sterling, VA, US, 20166.

3.     Plaintiff was paid on an hourly, not a salaried, basis.

4.     Between 1/23/17 and 9/29/19, plaintiff worked more than 640 hours for defendant for

which he should have been compensated by defendant at a rate of time and one-half of his hourly

rate (overtime), but he was not so compensated. See FLSA §207.

5.     Unpaid overtime in this case amounts to $5,586.07.

6.     Section 216 of the FLSA provides for liquidated damages in an additional equal amount

as unpaid overtime compensation. Section 216 of the FLSA also provides for a reasonable

attorney’s fee to be paid by the defendant, and costs of the action.


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       WHEREFORE, plaintiff prays that the Court award judgment against defendant in the

amount of $5,586.07 plus liquidated damages in an additional equal amount, plus a reasonable

attorney’s fee and costs of the action. The plaintiff also prays for such further relief that the

Court finds appropriate.




                                                                      /s/
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